 Case 4:10-cv-00685-A    Document 28   Filed 06/27/11   Page 1 of 19   PageID 794
                                                             U.S. DISTRICT COURT
                                                         NORTHERN DISTRICT OF TEXAS
                                                                  FILED
                  IN THE UNITED STATES DISTRICT
                       NORTHERN DISTRICT OF TEX                  :JJN 27 2011
                           FORT WORTH DIVISION
                                                          CLERK, U.S. DISTR1Cr COURT
MIKE PLUMLEE,                          §
                                                           by----ro;-----__
                                       §                             Deputy
            Plaintiff,                 §
                                       §
VS.                                    §    NO. 4:10-CV-685-A
                                       §
CITY OF KENNEDALE,                     §
                                       §
            Defendant.                 §


                             MEMORANDUM OPINION
                                     and
                                    ORDER

      Now before the court is the motion for summary judgment

filed in the above action by defendant, City of Kennedale.

Having now considered the motion, the response of plaintiff, Mike

Plumlee, defendant's reply, the entire summary judgment record,

and applicable legal authorities, the court concludes that the

motion should be granted.

                                       1.

                             Plaintiff's Claims

      Plaintiff initiated this removed action by the filing on May

11, 2009, of his original petition in the District Court of

Tarrant County, Texas, 48th Judicial District.             In his amended

petition filed August 19, 2010, plaintiff alleged claims and

causes of action against defendant for retaliation in violation
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of Chapter 21 of the Texas Labor Code and 42 U.S.C.             §   1981.

Plaintiff sought damages for his alleged emotional distress, past

and future lost wages, and for exemplary damages.

                                     II.

                    The Motion for Summary Judgment

     Defendant contends that summary judgment is proper because

plaintiff cannot establish a prima facie case of retaliation

under either   §   1981 or the Texas Labor Code, and he cannot show

that defendant's legitimate reasons for its actions were a

pretext for unlawful retaliation.           As an additional basis for

summary judgment as to plaintiff's          §   1981 claim, defendant

alleges that plaintiff cannot establish a custom or policy with

which to hold defendant liable.           Finally, defendant claims

summary jUdgment is warranted as to plaintiff's claim for

punitive damages because it is immune from such damages.

                                     III.

                            Undisputed Facts

     The following facts are undisputed in the summary judgment

record:

     Plaintiff began his employment with defendant in 2003 as a

firefighter paramedic.      In 2005 plaintiff was promoted to the

rank of lieutenant, the position he held at the time of his

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resignation.    In March of 2008 defendant hired a new fire chief,

Mike McMurray ("McMurray").

     In August of 2008, Edgar Freeman ("Freeman"), an African-

American, applied for a firefighter position with defendant and

was proceeding through the hiring process.            Plaintiff, McMurray,

and two other firefighters, Brian Aguilar ("Aguilar") and Andy

Cleveland ("Cleveland"), all interviewed Freeman.             On or around

August 13, 2008, plaintiff asked McMurray what shift Freeman

would be placed on if he was hired for the position.              McMurray

told plaintiff he could not put Freeman on plaintiff's shift

because "you cannot put 'two of them together. '"            App. to Pl. 's

Resp. to Def. 's Mot. for Summ. J.       ("Pl. 's App.") at 2.        Plaintiff

believed McMurray was referring to the fact that there was

already one African-American firefighter paramedic, Tedvin Wright

("Wright"), on plaintiff's shift, and therefore McMurray did not

intend to hire Freeman because he was black, despite his

qualifications.

     On August 20, 2008, plaintiff, Aguilar, and McMurray again

discussed Freeman's application.         McMurray again said Freeman and

Wright could not be on the same shift "because you can't put

blacks together."      Id.   Aguilar tape-recorded the conversation.



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     Plaintiff contacted Cynthia Henry ("Henry"), defendant's

human resources director, about McMurray's comment.             Henry asked

plaintiff and Aguilar to provide her written statements.

Plaintiff's statement, dated September 5, 2008, read:

     Cynthia,

     In regards to our discussions about the harassing, and
     discriminatory behavior from Mike McMurray.  You
     advised us that the complaints must be in writing [sic]
     I have listed these on the attached.

     M. McMurray, in his behavior and actions has made it
     uncomfortable to come to work. I do not find it
     acceptable to continually be subject to harassment by
     M. McMurray, or be in [sic] environment where he can
     continually discriminate people [sic] based on race
     sex, and age.

Id. at 7.   Attached to the letter were several pages detailing

plaintiff's complaints against McMurray, including McMurray's

comment concerning Freeman.      Among other things, plaintiff also

alleged that McMurray's assistant, Heather Hess ("Hess"), had

told him she was unhappy and felt uncomfortable working around

McMurray.   Aguilar also submitted a letter with attached pages

outlining all of his complaints against McMurray.

     City Manager Robert Hart, Jr.       ("Hart") reviewed the written

statements submitted by plaintiff and Aguilar; after reading

plaintiff's complaint, Hart told Henry,        "If this is true, we will



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be finding ourselves a new fire chief."l                           Def.'s Am. App. in

Supp. of Mot. for Summ. J.                  ("Def.' s App.") at 7.              Hart began

investigating the complaints, beginning with Hess.                                 When Hess

failed to corroborate the statements attributed to her by

plaintiff, Hart had her talk to Henry, in case Hess was more

comfortable talking to another woman.                         However, Hess continued to

deny any misconduct by McMurray towards her and subsequently

submitted a written statement to that effect.

        Hart also interviewed other firefighters, starting with

Wright.       In his affidavit, Wright confirms he told Hart that

McMurray's statement did not bother him, he was not offended by

it, and he did not "use the race card unless there actually is a

racial issue."            Id. at 18.         Wright also told Hart of various

statements allegedly made by plaintiff about McMurray, such as

saying McMurray was an idiot, that plaintiff was going to get

McMurray fired, and they could definitely get rid of McMurray if

Wright also complained.                 Hart also interviewed other

firefighters, who told him about other examples of plaintiff's

conduct that Hart believed to be insubordination against

McMurray.



       I Although plaintiff questions this statement, he has adduced no evidence to show Hart neither

made nor believed the statement.

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     On September 12, 2008, plaintiff, Aguilar, McMurray,

Cleveland, and Assistant Chief Hinkle met with Hart.               Hart stated

he could not substantiate the complaint against McMurray, then

announced that the meeting would be a pre-disciplinary hearing as

required by defendant's personnel manual.             Hart gave plaintiff a

letter titled "Notice of proposed disciplinary action pursuant to

Section 8.1 of the City of Kennedale Employee Handbook," which

stated:

     This notice is provided as noted above of my intent to
     consider disciplinary action up to and including
     termination for the following actions:
      • Insubordination in your conduct towards the chief.
        This has been exhibited through your comments to your
        direct reports and other department personnel.
      • Placed your direct reports in a dangerous situation
        by withholding safety equipment and training.
      • Misuse of public funds in order not to complete the
        full renovation of the fire station (chief's office)
      • Official repression by having direct reports run
        personal errands

      You are hereby suspended with pay pending a review
      scheduled at 1:00 pm on Monday September 15, 2008 in my
      office in city hall.

Pl. 's App. at 46.     Aguilar received a similar letter and was also

suspended.

     Additional meetings were held between plaintiff, McMurray,

Henry, and Hart, where the following occurred:             Hart told

plaintiff his options were termination, demotion, or resignationj


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plaintiff challenged some of the statements in the September 12,

2008, letter; Hart gave plaintiff a severance package; and on

September 26, 2008, Hart told plaintiff he intended to demote

him, decrease his pay, and put him on strict probation for six

months.     Plaintiff instead announced that he was resigning, and

was asked to write a resignation letter.          Plaintiff wrote a

statement saying he was resigning, effective immediately, instead

of taking a demotion, decrease in pay, and six-month disciplinary

probation.    At Hart's suggestion, however, plaintiff wrote a

second letter that simply stated "I would like to resign as of

9/26/08."     Id. at 22.   Hart suggested plaintiff write the second,

shorter letter, so it "would look better to future employers."

Id. at 5.

                                         IV.

                   Applicable Summary Judgment Principles

      Rule 56(a) of the Federal Rules of Civil Procedure provides

that the court shall grant summary judgment on a claim if there

is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.          Fed. R. Civ. P. 56(a);

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986).              The

movant bears the initial burden of pointing out to the court that

there is no genuine dispute as to any material fact.             Celotex

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Corp. v. Catrett, 477 U.S. 317, 323, 325 (1986).             The movant can

discharge this burden by pointing out the absence of evidence

supporting one or more essential elements of the nonmoving

party's claim,    "since a complete failure of proof concerning an

essential element of the nonmoving party's case necessarily

renders all other facts immaterial."          Id. at 323.

      Once the movant has carried its burden under Rule 56(a),

the nonmoving party must identify evidence in the record that

creates a genuine dispute as to each of the challenged elements

of its case.     Id. at 324.    See also Fed. R. Civ. P. 56(c)          ("A

party asserting that a fact            . is genuinely disputed must

support the assertion by.         . citing to particular parts of

materials in the record .            .").   If the evidence identified

could not lead a rational trier of fact to find in favor of the

nonmoving party as to each essential element of the nonmoving

party's case, there is no genuine dispute for trial and summary

judgment is appropriate.       Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 587, 597 (1986).            " [C]onclusory

allegations, speculation, and unsubstantiated assertions are

inadequate to satisfy the nonmovant's burden" in response to a

motion for summary judgment.         Ramsey v. Henderson, 286 F.3d 264,

269 (5th Cir. 2002)    (internal quotation marks omitted) .

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                                                        v.
                                                  Analysis

 A.   Claim Under 42 U.S.C.               §   1981 Fails

        Recovery against a municipality under                            §   1981 may not be

predicated on a theory of respondeat superior.                                  Monell v. Dep't

of Soc. Servo of New York, 436 U.S. 658, 694 (1978) i Evans V.

City of Houston, 246 F.3d 344, 357 (5th Cir. 2001).                                    Rather, a

municipality may be held liable under                         §       1981 for the deprivation

of rights guaranteed by the Constitution or federal law only if

the deprivation was the result of an official policy or custom.

Evans, 246 F.3d at 358 (applying "custom or policy" test for

municipality liability under 42 U.S.C.                            §    1983 to claim against

city under        §   1981).2

        The Fifth Circuit has defined an "official policy" as

              [aJ pOlicy statement, ordinance, regulation or
             decision that is officially adopted and
             promulgated by the municipality's lawmaking
             officers or by an official to whom the lawmakers
             have delegated policy-making authority.
             Alternatively, official policy is [aJ persistent,
             widespread practice of city officials or
             employees, which, although not authorized by
             officially adopted and promulgated policy, is so
             common and well settled as to constitute a custom
             that fairly represents municipal policy.


       2While Evans v. City of Houston, 246 F.3d 344 (5th Cir. 2001), concerns race discrimination
pursuant to 42 U.S.C. § 1981, the Supreme Court has recently affirmed that claims of retaliation are also
cognizable under § 1981. CBOCS West. Inc. v. Humphries, 553 U.S. 442 (2008).

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rd.    (internal citations and quotation marks omitted, brackets in

original)

        Plaintiff concedes that he has no evidence of any

"persistent, widespread practice," but argues that the one-time

decision against him by Hart could give rise to municipal

liability if Hart is a "final policymaker."                            Br. in Supp. of

Pl.'sResp. to Def.'s Mot. forSumm. J.                           ("Pl.'sBr.") at 15.

Plaintiff further concedes, however, that Hart's actions "do not

likely rise" to that level, id. at 16, but suggests that it could

be considered a fact issue.                   Plaintiff must do more than suggest

a fact issue, however, to defeat summary jUdgment.                                As plaintiff

has adduced no summary judgment evidence of any custom, policy,

or final policy maker upon which to base defendant's liability

under    §   1981, summary judgment is granted as to that claim.

B.      Evidentiary Framework for Retaliation Claims

        To evaluate claims of retaliation under either                             §   1981 or the

Texas Labor Code,3 absent direct evidence, the court looks to the



        3Claims of retaliation under both § 1981 and the Texas Labor Code are analyzed and evaluated in
the same manner as such claims under Title VII of the Civil Rights Act of 1964,42 U.S.C. § 2000e, et
seq. Shackelford v. Deloitte & Touche. LLP, 190 F.3d 398, 403-4 n.2 (5th Cir. 1999). Accordingly, the
court will address both claims together.

        Although the court has concluded that summary judgment is warranted on plaintiffs retaliation
claim pursuant to § 1981 for the reasons discussed in section V.A., supra, summary judgment is also
warranted for the additional reasons set forth in this section.

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evidentiary burden-shifting framework of McDonnell Douglas Corp.

v. Green, 411 U.S. 792 (1973), as modified by Desert Palace, Inc.

v. Costa, 539 U.S. 90 (2003) i see also Aryain v. Wal-Mart Stores

Texas LP, 534 F.3d 473, 484 (5th Cir. 2008).           This framework, in

turn, requires plaintiff first to establish a prima facie case.

St. Mary's Honor Ctr. v. Hicks, 509 U.S. 502, 506 (1993).

      If plaintiff succeeds, a presumption of retaliation arises

and the burden shifts to defendant to articulate a legitimate,

non-retaliatory reason for its actions.          Id. at 506-07.       If

defendant meets its burden of production, the plaintiff bears the

ultimate burden of proving that either (1) the employer's

proffered reason is a pretext for retaliation (pretext

alternative), or (2) that the employer's reason, although true,

is but one of the reasons for its conduct, another of which was

the plaintiff's protected conduct (mixed-motives alternative).

Keelan v. Majesco Software, Inc., 407 F.3d 332, 341 (5th Cir.

2005) .

      Plaintiff argues that the Fifth Circuit in Smith v. Xerox

Corp., 602 F.3d 320 (5th Cir. 2010),        "confirmed the mixed-motive

standard as the correct standard on retaliation cases," and that

the mixed-motive standard "must be used in retaliation cases

regardless of whether the Plaintiff presents direct or indirect

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evidence."     Pl. IS Br. at 19.       Plaintiff further noted that he was

uncertain of the correct standard for establishing the required

"causal link" in light of Smith, "which did away with the Ibut

fori standard."        Id. at 25.

     Because it appears that plaintiff has misconstrued the

holding in Smith, some clarification is required.                In Smith, the

Fifth Circuit held that in retaliation cases, as in other Title

VII cases, the plaintiff is not required to present direct

evidence of retaliation in order to obtain a mixed-motive jury

instruction.       Smith, 602 F.3d at 332.        Instead, a plaintiff may

argue a mixed-motive theory using either direct or circumstantial

evidence.    Id.     However, where no evidence of the kind required

for a mixed-motive theory is present, the case proceeds under a

"pretext" analysis, where the "burden returns to the plaintiff to

prove that the protected conduct was a            'but for' cause of the

adverse employment decision."          Hernandez v. Yellow Transp., Inc.,

--- F.3d ----, 2011 WL 1796366, at *8 (5th Cir. May 12, 2011)

(internal citation omitted) .

     Despite his discussion of the mixed-motive alternative,

plaintiff argues only pretext.          Accordingly, the court will not

consider the mixed-motive alternative here.




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C.      The Merits

        The parties dispute whether or not plaintiff has established

a prima facie case of retaliation.                        The court concludes it need

not resolve those issues, however, because plaintiff has clearly

failed to adduce any evidence of pretext.

        Defendant contends plaintiff resigned from his employment

after Hart initiated disciplinary proceedings against him based

on Hart's discovery of insubordination by plaintiff, including

plaintiff's attempt to have McMurray fired.                              Plaintiff concedes

that defendant has produced a legitimate reason for the adverse

employment action.              Thus, the burden shifts to plaintiff to show

pretext "either through evidence of disparate treatment or by

showing that the employer's proffered explanation is false or

unworthy of credence. 114               Jackson v Cal-Western Packaging Corp.,

602 F.3d 374, 378-79 (5th Cir. 2010)                         (internal citations and

quotation marks omitted) .

        Plaintiff's primary argument concerning pretext is that the

alleged insubordination was really his complaint of race

discrimination against McMurray, as demonstrated by Hart's


          4The pre-disciplinary letter dated September 12,2008, identifies four separate areas of concern
for which Hart was considering disciplinary action. In the motion, defendant appears to rely primarily on
the first item, "[i]nsubordination in [plaintiffs] conduct towards the chief." PI.'s App. at 46. Plaintiff
addressed all of the issues in his response; however, because defendant did not rely specifically on those
issues as part of its reason for its actions, the court need not address them.

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investigation into the complaint.         Plaintiff apparently contends

that his complaint of race discrimination insulated him from any

disciplinary action that might follow or arise from the

investigation; thus, the fact that disciplinary action arose out

of his complaint is, on its face, evidence of pretext.

        Plaintiff's claims are similar to those made by the

plaintiff in Wilson v. UT Health Center, 973 F.2d 1263 (5th Cir.

1992), where the plaintiff reported several incidents of sexual

harassment.     However, the employer disciplined the plaintiff and

eventually terminated her employment because the employer

believed she had made misrepresentations in her report of

harassment and in a disciplinary report.              973 F.2d at 1266-67.

Plaintiff argued that the Fifth Circuit in Pettway v. American

Cast Iron Pipe Co., 411 F.2d 998 (5th Cir. 1969), interpreted

Title VII as proscribing disciplinary actions based on the

employer's evaluation of the veracity of an employee's

allegations concerning matters protected by Title VII.                  Id. at

1268.

        The Fifth Circuit rejected plaintiff's contention, holding

instead that Pettway protected a complainant only from actions

taken due to misrepresentations made in the context of EEOC

proceedings.     Id.   The plaintiff was not protected from the

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consequences of misrepresentations she made to her employer

during its internal investigation.         Id.; see also EEOC v. Total

Sys. Servs., Inc., 221 F.3d 1171, 1176 (11th Cir. 2000)               (no

evidence of pretext where employer discharged plaintiff/employee

for lying during its internal investigation into her complaints

of sexual harassment) .

     The same result is warranted here.          Plaintiff is not immune

from adverse action for misconduct merely because defendant

learned of the misconduct during its investigation of plaintiff's

race-discrimination complaint.       Nor was defendant required to

disregard what it believed to be evidence of plaintiff's

misconduct because of the circumstances under which that evidence

came to light.     See Wilson, 973 F.2d at 1268; see also Swanson v.

Gen. Servs. Admin., 110 F.3d 1180, 1188 n.3 (5th Cir. 1997)                 (the

fact that adverse action occurs after employee engages in

protected activity, without more, does not prove retaliation) .

     Nor does plaintiff's contention that Hart did not talk to

either he or Aguilar during the investigation prove pretext.

Plaintiff apparently intended to imply that because he did not

personally interview them, Hart must not have actually

investigated their complaints.       Hart had several pages of

detailed allegations written by plaintiff and Aguilar, however,

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and plaintiff has offered nothing more than speculation to

controvert Hart's statements concerning the investigation.

     Plaintiff also attempts to bolster his pretext argument

through his contention that he was never told how he was

insubordinate to McMurray and his belief that the witness

statements submitted by defendant in support of its motion appear

to have been written after plaintiff resigned.           As to the first

point, plaintiff has directed the court to no authority holding

that failure to give detailed reasons as to an employee's alleged

insubordination proves pretext.        Nor does plaintiff allege or

present evidence that defendant has offered changing or

inconsistent reasons for the proposed disciplinary action, a

circumstance that could give rise to a finding of pretext.              See,

~,    Gee v. Principi, 289 F.3d 342, 347-48 (5th Cir. 2002).

     Even if correct, plaintiff's second point--that the witness

statements were written after plaintiff's resignation--fails to

establish pretext.     Hart in his affidavit did not claim he

obtained written statements during his September 2008

investigation of plaintiff's complaint.          Rather, he stated only

that he interviewed other firefighters and relied on information

provided during those interviews in concluding that plaintiff had

been insubordinate to McMurray.

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     Even if the written statements were obtained in preparation

for plaintiff's unemployment hearing, as plaintiff alleged, this

also fails to even hint at pretext.           The unemployment hearing

apparently occurred, or preparations began for it, in December

2008, only three months after plaintiff's resignation.                  That a

city official waited until a need for written statements arose to

obtain those statements fails to prove that Hart did not learn

the same information during his personal interviews or rely on

that information in considering disciplinary action.

     Plaintiff in his affidavit also denies making negative

comments about McMurray and denies that he was plotting to have

McMurray fired.        It is well-settled, however, that a plaintiff's

self-serving denial of allegations of misconduct fails to create

an issue of fact as to pretext.          Jackson, 602 F.3d at 379.

Despite his generalized denial, plaintiff does not controvert the

statements or acts attributed to him by Wright or the other

firefighters.     Further, Hart was entitled to weigh all of the

information given him by Wright and the other firefighters, as

well as Hess's denial of the statements plaintiff attributed to

her, and reach a conclusion unfavorable to plaintiff.

     In considering the results of an investigation into employee

misconduct,   "[t]he question is not whether an employer made an

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erroneous decisioni it is whether the decision was made with

discriminatory motive."      Mayberry v. Vought Aircraft Co., 55 F.3d

1086, 1091 (5th Cir. 1995).          Merely disputing or denying the

underlying facts of an investigation, as plaintiff has done,

fails to create a fact issue as to the falsity of the defendant's

explanation.     Jackson, 602 F.3d at 379i LeMaire v. La. Dep't of

Transp. &    Dev., 480 F.3d 383, 391 (5th Cir. 2007).               This is

because anti-retaliation laws lido not require an employer to make

proper decisions, only non-retaliatory ones."                LeMaire, 480 F.3d

at 391.

        Plaintiff argues that   II   [t]he combination of suspicious

timing along with other significant evidence of pretext can be

sufficient to survive summary judgment. II              Pl. 's Br. at 34 (citing

Shackelford v. Deloitte & Touche, LLP, 190 F.3d 398, 409-410 (5th

Cir. 1999)).     While plaintiff correctly stated the law, it is of

no benefit to him here, inasmuch as he has failed to adduce any--

much less significant--evidence of pretext.                Plaintiff has failed

to "prove that [defendant's] stated reason for the adverse action

was merely a pretext for the real, retaliatory purpose."                  Strong

v. Univ. Healthcare Sys., L.L.C., 482 F.3d 802, 806 (5th Cir.

2007)    (internal citations and question marks omitted) .




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                                     VI.

                                     Order

     Therefore,

     The court ORDERS that defendant's motion for summary

judgment be, and is hereby, granted, and that all claims and

causes of action brought by plaintiff, Mike Plumlee, against

def~ndant,    City of Kennedale, be, and are hereby, dismissed with

prej.udice.

     S I.GNED June 27,




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